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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


IN RE: PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE                               MDL No. 1456
LITIGATION                                            Master File No.: 01-CV-12257-PBS
                                                      Subcategory Case No. 03-10643-PBS
 THIS DOCUMENT RELATES TO:                            Judge Patti B. Saris
 City of New York, et al. v.
 Abbott Laboratories, Inc., et al.



                 [PROPOSED] CASE MANAGEMENT ORDER NO. ___


        The following dates are modified from the scheduling order entered by this Court

on June 14, 2010:


                            ACTION                                      DEADLINE
          Plaintiffs shall serve expert reports and       October 29, 2010
          other materials in compliance with Fed.
          R. Civ. P. 26(a)(2)(B).
          Defendants shall serve expert reports           January 20, 2011
          and other materials in compliance with
          Fed. R. Civ. P. 26(a)(2)(B).
          All expert depositions shall be                 February 15, 2011
          completed.



SO ORDERED

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                                                      PATTI B. SARIS
                                                      U.S. DISTRICT COURT JUDGE




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